Case 2:21-cv-07286-CAS-JPR Document 8 Filed 09/21/21 Page 1 of 5 Page ID #:23
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  7                        UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
  8
  9    UNITED STATES OF AMERICA                  Case No. 2:21−cv−07286−CAS−JPR

  10                 Plaintiff(s),
                                                 NOTICE TO COUNSEL
             v.
  11
       $1,182,500.00 IN U.S. CURRENCY
  12
                    Defendant(s).
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  17         This case has been assigned to the calendar of Judge Christina A. Snyder.

  18    This Notice to Counsel shall be to all parties appearing in propria persona, and for

  19    purposes of this notice, the term “counsel” shall include any person appearing in

  20    pro per.

  21         Counsel are advised that the Court expects strict compliance with the

  22    provisions of the Local Rules and the Federal Rules of Civil Procedure. All of the

  23    Local Rules are equally important. The parties are reminded to follow the

  24    disclosure requirement in Local Rule 7.1. Copies of the Local Rules may be

  25    purchased from one of the following:

  26    Los Angeles Daily Journal      Metropolitan News     West Group
        915 E. 1st Street              210 South Spring St.  610 Opperman Drive
  27    Los Angeles, CA 90012          Los Angeles, CA 90012 Egan, Minnesota 55123

  28         The Local Rules and Judge’s Procedures and Schedules may also be

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       found on the United States District Court’s website at the following address:
  2    HTTP://WWW.CACD.USCOURTS.GOV. Please note that certain Local Rules
  3    have recently been amended.
  4          The attention of counsel is particularly directed to Local Rules 16 and 26 for

  5    the conduct of mandatory pretrial and settlement proceedings.
  6          The Court notes that a party to this lawsuit does not have a lawyer. Parties
  7    in court without a lawyer are called “pro se litigants.” These parties often face
  8    special challenges in federal court. Public Counsel runs a free Federal Pro Se
  9    Clinic at the Los Angeles federal courthouse where pro se litigants can get
  10   information and guidance. The clinic is located in Room G-19, Main Street Floor
  11   of the United States Courthouse, 312 North Spring Street, Los Angeles, California
  12   90012. For more information, litigants may call (213) 385-2977 (x. 270) or they

  13   may visit the Pro Se Home Page found at
  14   http://court.cacd.uscourts.gov/cacd/ProSe.nsf. Clinic information is found there
  15   by clicking “Pro Se Clinic - Los Angeles”.
  16         Counsel are reminded of their obligations to disclose information and confer
  17   on a discovery plan not later than 21 days prior to the date of the Fed. R. Civ. P.

  18   16(b) scheduling conference and to report to the Court not later than 14 days after

  19   they confer on a discovery plan and the other matters required by Fed. R. Civ. P.

  20   26(f) and the Local Rules of this Court. The following issues will be considered at
  21   the scheduling conference: the last date by which parties and claims for relief may
  22   be added, the discovery cutoff, as well as any issues relating to the discovery plan,
  23   the last date for filing motions, the time for the pretrial conference and the trial
  24   date. Scheduling conferences are generally held on Monday at 11:00 a.m.

  25         Counsel should also be guided by the following requirements when

  26   litigating cases assigned to Judge Snyder:
  27         1.     INTERROGATORIES: Refer to the Local Rules.
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            2.     MOTIONS: Motions shall be heard on each Monday of the month at
  2    10:00 a.m., unless otherwise ordered by the Court. If Monday is a national
  3    holiday, the succeeding Monday shall be the motion day and all matters noticed
  4    for such Monday stand for hearing on the following Monday without special order

  5    or notice. The Court provides oral or written tentative rulings on most motions.
  6    Counsel are encouraged to direct oral argument to the matters raised in the
  7    tentative ruling and to submit to any part of the ruling that is not in genuine
  8    dispute, where appropriate. The Court will notify counsel if it does not require
  9    oral argument on any specific motion.
  10        Motion papers should comply with the Local Rules. Briefs should not
  11   exceed the page limits authorized by the Local Rules. The Court will rarely grant
  12   leave to file briefs that exceed the authorized page limits. Counsel are admonished

  13   not to circumvent page limits by filing multiple motions which purport to address
  14   separate issues in a case. Such motions will not be considered unless counsel
  15   obtains leave to file more than one motion or to file a brief that exceeds the page
  16   limits authorized by the Local Rules.
  17        3.     EX PARTE APPLICATIONS:

  18              A.      NOTICE: The parties’ and counsels’ attention is directed to

  19   Local Rule 7-19. The moving party shall inform the opposing party or parties that

  20   such party or parties shall have 48 hours from the date of delivery of the moving
  21   papers to file and serve their opposition papers, if any.
  22              B.      HEARING: No hearing will be held on any ex parte application
  23   unless deemed necessary by the Court and in such case counsel will be notified by
  24   the Courtroom Deputy Clerk.

  25        4.     DISCOVERY CUTOFF: Generally, the Court will set a discovery

  26   cutoff date at the scheduling conference. The Court expects that by the date of the
  27   discovery cutoff, all discovery and responses thereto shall have been served, and
  28   all motions to compel will be on file and have been argued (but not necessarily

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       decided). The only discovery that may be conducted after the discovery cutoff
  2    date without leave of Court is discovery ordered by the Magistrate Judge for
  3    which a timely-filed motion was pending and argued before the discovery cutoff
  4    date. Unless the Court has issued a contrary order, all discovery motions should

  5    be set before the Magistrate Judge to whom this case is assigned.
  6         5.     MANDATORY COPIES: The Court requires that mandatory copies
  7    of electronically filed documents be delivered to the judge’s mail box outside the
  8    Clerk’s Office on the 4th floor of the 1st Street Courthouse no later than 12:00 p.m.
  9    on the first court day following the date when the documents are required filed.
  10   Furthermore, mandatory copies shall be 2-hole punched and the efile
  11   notification date shall be visible on or as the first page. Moreover, in all cases
  12   asserting claims under the antitrust laws, the patent laws or federal securities laws,

  13   and in such specific cases as may be designated by the Court, counsel must deliver
  14   to the court two (2) mandatory copies of all documents that are electronically
  15   filed. Mandatory copy documents shall include tabs to separate exhibits,
  16   declarations, etc., where applicable. The Court will also accept any fax courtesy
  17   copies not exceeding five (5) pages in length total. The Courtroom Deputy

  18   Clerk’s fax number is 213-894-0375. In addition, counsel shall email any and all

  19   proposed orders to the Courtroom Deputy Clerk in “Word” or “WordPerfect”

  20   format to CAS_Chambers@cacd.uscourts.gov
  21        6.     CONTINUANCES: Continuances will only be granted based upon a
  22   showing of good cause. Stipulations, including second and subsequent extensions
  23   of time to respond to the complaint, are effective ONLY when approved by the
  24   Court. (See Local Rule 16-8).

  25        7.     REMOVED ACTIONS: Any answers filed in state court must be

  26   refiled with the Court as a supplement to the petition. Any pending motions must
  27   be renoticed in accordance with Local Rule 37-3.
  28        8.     TELEPHONIC HEARINGS: Upon obtaining leave of Court at least

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       one week in advance of any hearing, Judge Snyder will permit oral argument on
  2    calendared motions to be heard telephonically if (a) all involved parties consent to
  3    the telephone hearing, (b) the parties anticipate presenting limited argument, and
  4    (c) the Court’s calendar permits such telephonic oral argument to be heard.

  5         The telephonic hearing will be scheduled at a time convenient for the Court
  6    and the parties, on the Monday originally scheduled for the hearing of the motion
  7    pursuant to the Federal Rules of Civil Procedure and the Local Rules. The party
  8    bringing the motion will initiate the conference call, and when all counsel are
  9    present on the line, will contact the Court. Callers will hold on the line until their
  10   motion is ready to be heard, at which time they will be connected with the Court,
  11   the case will be called, and the telephonic hearing will commence.
  12        9.     COMMUNICATIONS WITH THE COURT: Unless counsel have

  13   been expressly authorized to communicate with chambers (e. g., for a telephone
  14   status conference with all counsel participating), all oral and written
  15   communications must be submitted only to the Courtroom Deputy, Catherine
  16   Jeang with copies to all counsel of record. Please do not attempt to communicate
  17   in writing or by telephone with chambers. (See Local Rule 83-2.11).

  18        10.     NOTICE OF THIS ORDER: Counsel for plaintiff is responsible for

  19   promptly serving a copy of this Order on all defendants’ counsel. If this case came

  20   to the Court via removal, the removing defendant shall promptly serve a copy of
  21   this Order on all parties of record.
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  24 Date: September 21, 2021
  25                                          Christina A. Snyder
                                              United States District Judge
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